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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ANGELA DEL VILLAR,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   19-CV-10891 (JMF)
                  -v-                                                  :
                                                                       :        ORDER
HYATT HOTELS CORPORATION et al.,                                       :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        For reasons the Court will explain orally at a conference to be held on December 10,
2020 at 2:30 p.m. the Court DENIES Defendants’ motion to dismiss, with the exception of
Plaintiff’s claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.,
against Defendant Neil Francois, which must be and are DISMISSED.

        Defendants shall file their answers within two weeks of the date of this Order. See
Fed. R. Civ. P. 12(a)(4)(A). The initial pretrial conference is REINSTATED and adjourned to
December 10, 2020 at 2:30 p.m. The conference will be governed by the Court’s Order of
November 27, 2019, and the parties should prepare accordingly, including by submitting a joint
status letter and proposed case management plan no later than the Thursday prior to that
conference. See ECF No. 5.

        The conference will be held remotely in accordance with Rule 2(A) of the Court’s
Emergency Individual Rules and Practices in Light of COVID-19, available at
https://nysd.uscourts.gov/hon-jesse-m-furman. The parties should join the conference by calling
the Court’s dedicated conference line at (888) 363-4749 and using access code 542-1540,
followed by the pound (#) key. (Members of the public and press may also attend using the
same dial-in information; they will not be allowed to speak during the conference.)

        As stated in Rule 2(C)(ii) of the Court’s Emergency Individual Rules and Practices in
Light of COVID-19, no later than 24 hours before the conference, the parties shall email the
Court a list of counsel who may speak during the teleconference and the telephone numbers from
which counsel expect to join the call. More broadly, counsel should review and comply with the
rules and guidance regarding teleconferences set forth in the Court’s Emergency Individual
Rules and Practices in Light of COVID-19.
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      The Clerk of Court is directed to terminate ECF Nos. 19 and 25.

      SO ORDERED.

Dated: November 6, 2020                          __________________________________
       New York, New York                                 JESSE M. FURMAN
                                                        United States District Judge




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